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 7
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 8
     And Indirect Purchaser Plaintiffs
 9

10

11                               UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN FRANCISCO DIVISION

14 In re: CATHODE RAY TUBE (CRT)                    Master File No. 3:07-cv-5944 JST
   ANTITRUST LITIGATION.
15                                                  MDL No. 1917
16                                                  DECLARATION OF JOHN D.
     This Document Relates to:
                                                    BOGDANOV IN SUPPORT OF COOPER
17                                                  & KIRKHAM, P.C.’S ADMINISTRATIVE
     All Indirect-Purchaser Actions
                                                    MOTION TO FILE UNDER SEAL
18
                                                    Judge: Honorable Jon S. Tigar
19
                                                    Before: Special Master Martin Quinn, JAMS
20
                                                    [Administrative Motion to Seal and
21                                                  [Proposed] Order filed concurrently herewith]
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     DECLARATION OF JOHN D. BOGDANOV IN                           Master File No. 3:07-cv-5944 JST
28   SUPPORT OF COOPER & KIRKHAM, P.C.’S                          MDL 1917
     ADMINISTRATIVE MOTION TO FILE UNDER
     SEAL
      Case 4:07-cv-05944-JST Document 4879-1 Filed 09/24/16 Page 2 of 2




 1          I, John D. Bogdanov, declare as follows:

 2          1.     I am a member in good standing of the State Bar of California. I am a partner in

 3 Cooper & Kirkham, P.C. I have personal knowledge of the facts stated in this Declaration and, if

 4 called as a witness, I could and would testify competently to them.

 5          2.     Pursuant to Civil Local Rules 7-11 and 79-5, I submit this declaration in support of

 6 Cooper & Kirkham, P.C.’s Administrative Motion to File Under Seal.

 7          3.     Cooper & Kirkham seeks permission to file under seal the entirety of Exhibits 1-6

 8 attached to the Second Declaration of Josef D. Cooper in Support of Cooper & Kirkham, P.C.’s
 9 Objection to Lead Counsel’s Revised Proposed Allocation of Aggregate Fee Award to Indirect

10 Purchaser Plaintiffs’ Counsel.

11          4.     The material referenced in Paragraph 3 contains discussion, analysis, or references
12 to documents or information that has been designated by Lead Counsel for Indirect Purchaser

13 Plaintiffs as “Highly Confidential” pursuant to the terms of the Stipulated Protective Order (Dkt.

14 306).

15          5.     Cooper & Kirkham seeks to submit the above material under seal in good faith in
16 order to comply with the Stipulated Protective Order in this action and the applicable Standing

17 Order and Local Rules. Because the information Cooper & Kirkham seeks to submit under seal

18 has been designated as Highly Confidential by other parties, Cooper & Kirkham is filing the

19 accompanying Administrative Motion, and will be prepared to file unredacted versions of the

20 above-referenced documents in the public record if required by Civil Local Rule 79-5(e).

21          I declare under penalty of perjury under the laws of the State of California that the
22 foregoing is true and correct. Executed this 23rd day of September, 2016 in San Francisco,

23 California.

24                                                     /s/ John D. Bogdanov
                                                             John D. Bogdanov
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     DECLARATION OF JOHN D. BOGDANOV IN              -1-           Master File No. 3:07-cv-5944 JST
28   SUPPORT OF COOPER & KIRKHAM, P.C.’S                           MDL 1917
     ADMINISTRATIVE MOTION TO FILE UNDER
     SEAL
